                                           Case 4:12-cr-00248-PJH Document 231 Filed 11/16/21 Page 1 of 1




                                  1

                                  2

                                  3

                                  4                                 UNITED STATES DISTRICT COURT

                                  5                                NORTHERN DISTRICT OF CALIFORNIA

                                  6

                                  7        UNITED STATES OF AMERICA,
                                                                                      Case No. 12-cr-00248-PJH-3
                                  8                   Plaintiff,

                                  9             v.                                    ORDER GRANTING SECOND
                                                                                      MOTION FOR ENLARGEMENT OF
                                  10       ANTHONY JOSE MEYERS,                       TIME
                                  11                  Defendant.                      Re: Dkt. No. 230

                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Defendant in the above-captioned case has filed a motion for enlargement of time

                                  15   to file his reply in support of his pro se motion for compassionate release. See Dkt. 230.

                                  16   Defendant asks for 30 days from the date of his request, which is dated November 2,

                                  17   2021.1 Id. The court previously extended the time for defendant to reply until November

                                  18   23, 2021. See Dkt. 229. The court now GRANTS defendant’s present motion for

                                  19   enlargement of time, and gives defendant until December 2, 2021 to file a reply in

                                  20   support of his motion for compassionate release.

                                  21

                                  22          IT IS SO ORDERED.

                                  23   Dated: November 16, 2021

                                  24                                                   /s/ Phyllis J. Hamilton
                                                                                   PHYLLIS J. HAMILTON
                                  25                                               United States District Judge
                                  26

                                  27   1
                                        The motion itself bears the date of “October 2,” but that appears to be a typographical
                                  28   error, as the motion refers to a court order issued on October 26, and the motion was
                                       sent in an envelope with a postmark of November 2.
